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AO 91 (Rev. 11/11) Criminal Complaint ‘

Southern District Of Texas

UNITED STATES DISTRICT COURT FILED
for the OCT 13 2019

Southern District of Texas

 

 

 

David J. Bradley, Clerk

United States of America )
v. )

)  CaseNo. YY, QR — 2 -
Luis Enrique CORTEZ-Loera )
YOB: 1995 COC: Mexico
)

Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 12, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 U.S.C. § 841 (a)(1) Knowingly or intentionally possess with intent to manufacture, distribute, or

dispense, a controlled substance; to wit: approximately 14.46 kg of cocaine.

This criminal complaint is based on these facts:

See attachment.

@ Continued on the attached sheet.

/s/ Evan Mason

Complainant's signature

 

Evan Mason, HSI Special Agent

Submitted by reliable electronic means, sworn to and attested Printed name and title
telephonically per Fed. R. Cr. P. 4.1, and probable cause

found on: ,
Date: 10/13/2019 foe

rene 's signature

 

City and state: McAllen, Texas U. Alsen J. Scott Hacker
/ Printed name and title

 
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ATTACHMENT A

On October 12, 2019, a United States Customs and Border Protection Officer (CBPO)
was conducting inbound inspections as part of his duties at the Hidalgo, Texas Port of
Entry (POE). The CBPO, while assigned to the primary inspection lanes, encountered a
vehicle being driven by Luis Enrique CORTEZ-Loera (CORTEZ).

Upon encountering CORTEZ, the CBPO recognized that CORTEZ had only two
crossings in the vehicle CORTEZ was driving and that all CORTEZ’ previous crossings
were through the pedestrian border crossing lanes. The CBPO then referred CORTEZ to
the secondary inspection area for further inspection. Once in the secondary inspection
area, CORTEZ gave a negative declaration for food, alcohol, tobacco, firearms, drugs,
and cash in excess of $10,000.00 USD. CORTEZ?’ vehicle was then sent to the Z Portal
to be scanned. Upon scanning CORTEZ?’ vehicle, an anomaly was noted in the front of
the vehicle.

CBPOs probed the anomaly and extracted a white powder substance that field tested
positive for cocaine.

CORTEZ was detained and Homeland Security Investigations (HSI) Special Agent (SA)
Evan Mason was advised of the situation and responded to the Hidalgo POE to interview
CORTEZ. CORTEZ was read his Miranda rights in the Spanish language as witnessed
by a CBPO. CORTEZ stated that he understood his rights, both verbally and in writing,
and was willing to make a statement without an attorney present.

CORTEZ stated that he believed he was crossing drugs into the United States from
Mexico and that he was going to be paid approximately $1000.00 USD to transport the
unknown drugs, later determined to be cocaine, into the United States from Mexico.

CORTEZ stated that, following successfully smuggling the cocaine into the United
States, he was to be contacted by an individual and told where to go.
